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Cardel Nlaster Builder lnc.
Balance Sheet

June 30, 201 8
(For management purposes only)

Assets
W we 39;-.,2_<)..1.8.,. .,M… her 31 2011

Currant aéset's
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Totalcgrrent assets . . _ '- ` ,, .. 1.16.9§9,

 

No'n~current assets
investments 585 585
Due from related party~ t 1~,906,568 . 1,668,952
Prop'erty.and, equipmenii net- 1¢,8<48, 61 1,894,642
Defenred income tax asset W 32»§9@ §Ri§@Q
Total non~current assets ,W.§; 46,.¢,679

   
   

 

 

Total assets

Liabilities and S`to.ckhif)?flder"s» Equity

Current liabilities
|ncome tax payable 13, 738 13,738

Share capital ` 1 00 100
Retained earnings 3»824¢366 3749&0“|

Total liabilities and::stockho`lder's equity 3§§”384204 .» ., 3763639

  

 

 

August ‘l4, 2018

 

 

